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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                         Case No. 2:25-CR-20081-MSN

 ANTONIO CALDWELL, et al.,

       Defendants
 ______________________________________________________________________________

                         ORDER TRANSFERRING CASE
 ______________________________________________________________________________

        The undersigned Court requests that this case be reassigned to the Honorable Judge Samuel

 H. Mays. Accordingly, the Clerk is directed to reassign this case to United States District Judge

 Samuel H. Mays.

        IT IS SO ORDERED, this 26th day of June, 2025.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
